Case 3:05-cr-00395-CRB   Document 462       Filed 08/21/06   Page 1 of 2



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 Attorney for Defendant
 WU SANG NAH




                      UNITED STATES DISTRICT COURT
                    DISTRICT OF NORTHERN CALIFORNIA
                         SAN FRANCISCO DIVISION



 UNITED STATES OF AMERICA,                       CR 05-0395 CRB

             Plaintiff,                          STIPULATION AND [PROPOSED]
                                                 ORDER TO CONTINUE AND
        v.                                       EXCLUDE TIME

 WU SANG NAH,

             Defendant.
                                            /


        THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree that

 the change of plea date, now set for August 23, 2006, be

 continued to September 27, 2006 at 10:00 a.m.                The parties
 further stipulate and agree to an exclusion of time under the

 Speedy Trial Act from September 11, 2006 to September 27, 2006.

 This Court previously excluded time until September 11, 2006.

        As set forth in detail the accompanying declaration of

 counsel, the ends of justice served by granting the continuance

 outweigh the best interest of the public and the defendant in a

 speedy trial, where the failure to grant the requested exclusion

 would deny defense counsel reasonable time necessary for

 effective preparation of the defense taking into account the


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Case 3:05-cr-00395-CRB   Document 462       Filed 08/21/06         Page 2 of 2



 exercise of due diligence and for continuity of counsel.

 Therefore exclusion of time is made under to 18 U.S.C. §§

 3161(h)(8)(A) and (h)(8)(B)(iv).



 /S/JAMES BUSTAMANTE                    /S/PETER B. AXELROD
 JAMES BUSTAMANTE                       PETER B. AXELROD
 Attorney for WU SANG NAH               Assistant U.S. Attorney
 Dated: August 21, 2006                 Dated: August 21, 2006




        IT IS SO ORDERED.

                                                        ISTRIC
                                                    ES D
        Dated: August 21, 2006
                                                  T           TC
                                                 A BREYER
                                        CHARLES TR.




                                                                                   O
                                                  S
                                        U.S. District Court Judge




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